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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    KEN PAXTON, ET AL.,

         Plaintiffs,

    v.                                               No. 4:22-cv-143-P

    GARY M. RESTAINO, ET AL.,

         Defendants.
                                  ORDER
         Before the Court is Defendants’ Motion to Dismiss for Failure to
   State a Claim (“Motion”). ECF No. 26. Having reviewed the Motion and
   the applicable law, the Court finds the arguments contained therein are
   more appropriately raised at the summary judgment stage of
   proceedings. Accordingly, the Court concludes that the Motion (ECF No.
   26) should be and is DENIED.

         SO ORDERED on this 3rd day of October 2022.
